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                                                                                    Sean Harrington
                                                                                 P.O. Box #351855
                                                                       Westminster, Colorado 80035
                                           17 August 2007
Edward W. Nottingham, judge
Alfred A. Arraj U.S. Courthouse
Denver, CO 80294-3589

       RE: 05-cv-01858

Judge Nottingham:

"If it is perceived that there is one law for the rich and one law for everybody else,
the law will ultimately fall into disrespect." That’s what you pontificated during the Joe
Nacchio sentencing this past summer. I could not agree with you more.


I am, therefore, taking this opportunity to exercise my right under the First Amendment to draft this
memorandum. In so doing, I am making it a matter of record (copied to opposing counsel, among
others). Because I do not have to practice in Colorado, I will say what attorneys here
(notwithstanding In re Green, 11 P.3d 1078 (Colo. 2000)) would not likely venture to say.


As you, accurately, pointed out, there, indeed, is one law for the rich and another for everyone else
(like me). No one’s ever heard of me and no one (except myself, I guess) gives a damn about my
daughter, our rights or our injuries. Yet, I am no Kay Sieverding. Before I brought my case to
federal court, I spent nearly two years preparing and studying. I purchased and studied works by
Chemerinsky, Redish and Flamm; I attended classes; I spent hours at the law library; I obtained a
WestLaw account; and I made certain that I complied with every statutory notice requirement
(e.g.,the CGIA). I even consulted at length with a former Colorado Supreme Court Justice.


And, yet, as you do with all pro se litigants, you pawned off my case for disposal to a magistrate
(and, who happens to be a speaker for one of the defendants’ lobbying groups). Despite your salary
of $165K a year, you didn’t even bother to learn what I had to say. Instead, you assumed that,
because I sued a state judge’s clerk and my ex-wife and that I didn’t hire an attorney, that I must be
just another one of the hundreds of disgruntled Colorado fathers, alienated from their children and
foolishly expecting to move a divorce case into federal court. Accordingly, you accosted me with
vitriol and insults without reading anything I had filed and without even observing me in person.
You dismissed the case for lack of jurisdiction but “with prejudice,” and when I called this “error”
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to your attention, you defiantly denied my motion just because you could. Consequently, I had to
file a costly appeal to overturn your deliberate “error.”


Moreover, although you allegedly didn’t have the time, interest (or, apparently, the technical
expertise) to navigate the digital brief filed in this case (which was nothing more than an electronic
document consisting of hyperlinks), the newspapers have reported that you, perhaps, do have the
time, interest and technical skills to navigate hyperlinks on certain Web sites from within chambers.


Yet, I have to admit, I don’t feel singled out. You’ve spent your career as a judge berating and
accosting both litigants and attorneys, alike. When you were appointed a federal judge, you were
given a grand opportunity —an opportunity that most would regard as a privilege. Unfortunately,
instead of rendering judgment, you rendered your own will; instead of striving to become a fair
jurist, you chose to become a petty tyrant. You believed, apparently, that you had been made
royalty. However, just the opposite is true. This is not your court. It belongs to the People of this
nation.


Before the scandalous news stories surfaced, some reports claimed that, despite being “irascible,”
you were a smart, savvy jurist. Would you describe any public official, reported to be a “regular” at
Elways and drops three-thousand bucks at a strip club in just one evening, as smart?


I’ve never given any advice to a federal judge before and I realize that you’re not asking but, if I
were to give you any advice, it would be that you avoid suing your ex-wife in federal court for
whatever she’s done. —But, then again, as you’ve pointed out, there is one law for the rich and
another for everyone else: you’d probably be given a fair opportunity to be heard.
                                                                                            Very sincerely,

                                                                                           Sean Harrington

cc: Denver Post columnists (Felisa Cardona, David Harsanyi, Kristi Arellano, Al Lewis), Rocky Mountain News
columnist; Rocky Mountain News columnist Chris Schneider; Gazette columnist Dennis Huspeni; Don Knox (editor,
Colorado Law Week Online), David Yun, JAUDON & AVERY; Brett Huff, WHITE & STEELE; Amy Colony, State of
Colorado Attorney General’s Office Dep’t of Law; Randy Dement, Law Office of; John Zodrow, Esq.

A copy of this memorandum will be or already has been posted to:

                          http://www.knowyourcourts.com/Harrington/05CV01858.htm
